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   United States of America
 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00149-TLN
11
                                   Plaintiff,            STIPULATION TO CONTINUE STATUS
12                                                       CONFERENCE AND EXCLUDE TIME PERIODS
                            v.                           UNDER SPEEDY TRIAL ACT; FINDINGS AND
13                                                       ORDER
     RIGOBERTO NUNEZ;
14   OSCAR ANDRADE; AND                                  DATE: February 20, 2020
     OSCAR RODRIGUEZ,                                    TIME: 9:30 a.m.
15                                                       COURT: Hon. Troy L. Nunley
                                   Defendants.
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18                                               STIPULATION

19          1.      By previous order, this matter was set for status on February 20, 2020.

20          2.      By this stipulation, the United States and defendant Rigoberto Nunez, through his

21 counsel, Preciliano Martinez, and counsel for Oscar Rodriguez, David Fischer, move to continue the

22 status conference until March 26, 2020, at 9:30 a.m., and to exclude time between February 20, 2020

23 and March 26, 2020, under Local Code T4, for Mr. Nunez, and under Local Code M, for Mr. Rodriguez.

24          3.      Defendant Oscar Andrade has entered a change of plea in his matter, and therefore does

25 not join in this stipulation.

26          4.      The parties agree and stipulate, and request that the Court find the following:

27                  a)      Counsel for defendants desire additional time to continue to conduct

28          investigation, and to otherwise prepare for trial. The government has represented that it has


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 1        produced discovery in the form of investigative reports, photographs, and audio files, which the

 2        defendants need time to review, discuss with their counsel, and pursue investigation. The

 3        government has also represented that it has made available to defense counsel additional

 4        electronic surveillance discovery, which the defendants will also need time to review.

 5               b)      Counsel for defendants believe that failure to grant the above-requested

 6        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 7        into account the exercise of due diligence.

 8               c)      The government does not oppose this request.

 9               d)      At present, the whereabouts of Mr. Rodriguez are unknown, and he is therefore

10        unavailable.

11               e)      Based on the above-stated findings, the ends of justice served by continuing the

12        case as requested outweigh the interest of the public and the defendants in a trial within the

13        original date prescribed by the Speedy Trial Act.

14               f)      With regard to Mr. Nunez, for the purpose of computing time under the Speedy

15        Trial Act, 18 U.S.C. § 3161, et seq., within which trial must commence, the time period of

16        February 20, 2020 to March 26, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§

17        3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by the Court

18        at defendants’ request on the basis of the Court’s finding that the ends of justice served by taking

19        such action outweigh the best interest of the public and the defendant in a speedy trial.

20               g)      With regard to Mr. Rodriguez, for the purpose of computing time under the

21        Speedy Trial Act, 18 U.S.C. §3161, et seq., within which trial must commence, the time period

22        of February 20, 2020 to March 26, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.

23        §3161 (h)(3)(A) & (B) [Local Code M]: unavailability of a defendant.

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     STIPULATION TO CONTINUE STATUS AND EXCLUDE         2
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 1          5.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5   Dated: February 18, 2020                                 MCGREGOR W. SCOTT
                                                              United States Attorney
 6
                                                              /s/ JAMES R. CONOLLY
 7                                                            JAMES R. CONOLLY
                                                              Assistant United States Attorney
 8

 9   Dated: February 18, 2020                                 /s/ Preciliano Martinez
                                                              PRECILIANO MARTINEZ
10                                                            Counsel for Defendant
                                                              Rigoberto Nunez
11
     Dated: February 18, 2020                                 /s/ David Fischer
12                                                            DAVID FISCHER
13                                                            Counsel for Defendant
                                                              Oscar Rodriguez
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 1                                          FINDINGS AND ORDER

 2          IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’

 3 stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its entirety as its order.

 4 The Court specifically finds the failure to grant a continuance in this case would deny counsel

 5 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

 6 The Court finds the ends of justice are served by granting the requested continuance and outweigh the

 7 best interests of the public and defendant in a speedy trial. The Court also finds that the whereabouts of

 8 Oscar Rodriguez remain unknown, and he is therefore unavailable.

 9          The Court orders the time from the date the parties stipulated, up to and including March 26,

10 2020, shall be excluded from computation of time within which the trial of this case must be

11 commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) (Local Code

12 T4), with respect to Rigoberto Nunez, and pursuant to 18 U.S.C. §3161 (h)(3)(A) & (B) [Local Code

13 M], with respect to Oscar Rodriguez. It is further ordered that the February 20, 2020 status conference

14 shall be continued until March 26, 2020, at 9:30 a.m.

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16          IT IS SO FOUND AND ORDERED this 18th day of February, 2020.

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20                                                                        Troy L. Nunley
                                                                          United States District Judge
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      STIPULATION TO CONTINUE STATUS AND EXCLUDE          4
      TIME; FINDINGS AND ORDER
